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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                         §        MDL NO. 2179
“DEEPWATER HORIZON” IN THE GULF OF                      §
MEXICO, ON APRIL 20, 2010                               §        SECTION J
                                                        §
This Document Relates To:                               §
All cases, 2-10-cv-2771 and 2:10-cv-04536               §        JUDGE BARBIER
                                                        §
                                                        §        MAGISTRATE JUDGE SHUSHAN

         TRANSOCEAN’S MOTION FOR PARTIAL SUMMARY JUDGMENT
    AGAINST BP TO ENFORCE BP’S CONTRACTUAL OBLIGATIONS, INCLUDING
        BP’S OBLIGATION TO DEFEND, INDEMNIFY AND HOLD TRANSOCEAN
                    HARMLESS AGAINST POLLUTION CLAIMS


         Transocean Offshore Deepwater Drilling Inc., Transocean Deepwater Inc., Transocean

Holdings LLC and Triton Asset Leasing GmbH (collectively “Transocean”) hereby move

pursuant to Fed. R. Civ. P. 56 for partial summary judgment on the counter-complaint, cross-

complaint and third party complaint and claim in limitation filed by BP Exploration &

Production Inc. (“BPXP”) and BP America Production Company (“BPAP”) (collectively “BP”),

Dkt. 2074, on the cross-claim and third party complaint filed by BPXP, Dkt. 2075, on Counts 7

and 8 (¶¶ 88-125) of Transocean’s Rule 13 Cross-Claims/Counterclaims, Dkt. 2068, and on

Count 7 (¶¶ 59-85) of Transocean’s Rule 13 Cross-Claims/Counterclaims and Rule 14 Third-

Party Complaint, Dkt.2574, on the ground that the reciprocal indemnity provisions in the Drilling

Contract between Transocean and BP require BP to defend, indemnify and hold Transocean

harmless for “ANY LOSS, DAMAGE, EXPENSE, CLAIM, FINE, PENALTY, DEMAND

OR LIABILITY FOR POLLUTION OR CONTAMINATION . . . ARISING OUT OF OR

CONNECTED WITH OPERATIONS UNDER THIS CONTRACT”1 and further provide

that the obligations of the indemnifying party apply:


1
 The Drilling Contract excepts pollution “originating on or above the surface of the land or water” or to
pollution “in any way caused by the drilling unit while it is off the drilling location, while underway or

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                “WITHOUT LIMIT AND WITHOUT REGARD TO THE CAUSE OR

                 CAUSES”

                “WITHOUT REGARD TO . . . PREEXISTING CONDITIONS, WHETHER

                 SUCH CONDITIONS BE LATENT OR PATENT,”

                “WITHOUT REGARD TO . . . THE UNSEAWORTHINESS OF ANY

                 VESSEL OR ANY VESSELS (INCLUDING THE DRILLING UNIT),”

                “WITHOUT REGARD TO . . . BREACH OF REPRESENTATION OR

                 WARRANTY, EXPRESSED OR IMPLIED, BREACH OF CONTRACT,

                 STRICT LIABILITY [OR] TORT” and

                “WITHOUT REGARD TO . . . THE NEGLIGENCE OF ANY PERSON OR

                 PERSONS, INCLUDING THAT OF THE INDEMNIFIED PARTY . . .

                 WHETHER SUCH NEGLIGENCE BE SOLE, JOINT OR CONCURRENT,

                 ACTIVE, PASSIVE OR GROSS OR ANY OTHER THEORY OF LEGAL

                 LIABILITY.”

         As demonstrated in the attached Statement of Undisputed Material Facts and

Memorandum in Support of this Motion, there is no genuine dispute as to the terms of the

governing Drilling Contract, which unambiguously require BP to defend, indemnify and hold

Transocean harmless for the pollution claims at issue in this litigation. It is settled law that an

express indemnity agreement trumps rights of contribution.            While OPA provides that a

responsible party such as BP may bring an action for contribution, 33 U.S.C. § 2709, OPA also

permits “any agreement to insure, hold harmless, or indemnify a party to such agreement for any

liability under this Act.” 33 U.S.C. § 2710 (emphasis added). The express terms of the Drilling




during drive off or drift off from the drilling location.” The reciprocal indemnity provisions require
Transocean to indemnify BP for these forms of pollution.

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Contract, therefore, override any contribution rights that BP would otherwise have, and BP’s

contribution claims must be dismissed.

         For the reasons stated herein and in the accompanying Statement of Undisputed Material

Facts and Memorandum in Support, and Affidavits and other evidentiary materials filed

herewith, Transocean respectfully requests that its Motion for Partial Summary Judgment

seeking to enforce BP’s obligations in the Drilling Contract be granted, specifically that:

        The express indemnity promises made by BP in the Drilling Contract override any
         alleged rights of BP to contribution;
        The indemnity provisions agreed to by BP in the Drilling Contract are valid and
         enforceable against the OPA statutory backdrop, including indemnity for the uncapped
         liability that arises upon a finding that an incident resulted from gross negligence;
        BP’s contribution claims are barred by BP’s contractual promise to defend Transocean,
         and BP must defend Transocean against environmental wellhead pollution claims
         pending against it that arise from the Macondo blowout;
        BP cannot avoid its contractual promise by alleging that Transocean breached the
         Drilling Contract or that the Deepwater Horizon was unseaworthy;
        BP cannot avoid its contractual promise by alleging that Transocean or its employees
         were grossly negligent;
        BP is required to honor its promise to indemnify Transocean for CWA (and any other)
         civil penalties on account of pollution or contamination from the Macondo well;
        BP is required to honor its promise to pay the unpaid invoices referenced in Transocean’s
         Motion for Partial Summary Judgment and the Memorandum in Support thereof;
        As a result of BP’s failure to honor its promises in each of the above areas, BP be
         required to reimburse Transocean its attorneys’ fees, costs, and expenses incurred in
         defending environmental claims for which BP is contractually obligated and those
         incurred in forcing BP to honor its contractual promises;
        And all other relief that the Court deems just and appropriate.
         A proposed order is attached hereto.




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Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing pleading has been electronically filed

through the Court’s CM/ECF system and served on all counsel of record though LexisNexis File

& Serve, in accordance with Pretrial Order No. 12, which will send a notice of electronic filing

to all counsel of record on this 1st day of November, 2011.


                                                    /s/ Kerry J. Miller
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